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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )
       v.                              )     CRIMINAL ACTION NO.
                                       )       2:10cr186-MHT
MILTON E. McGREGOR,                    )           (WO)
THOMAS E. COKER,                       )
LARRY P. MEANS,                        )
JAMES E. PREUITT,                      )
HARRI ANNE H. SMITH, and               )
JARRELL W. WALKER, JR.                 )


                                     OPINION

       During both the original trial and the retrial of

this        public-corruption          case,     the    court        in     its

instructions to the jury provided a definition of a quid

pro    quo.      The    court    is     of     the   opinion    that      these

instructions         should     be    memorialized       and    made      more

accessible to the public.



                I.     THE COURT’S JURY INSTRUCTIONS

       Extortion,      federal-programs          bribery,      and   honest-

services mail and wire fraud are different crimes with

distinct elements.            For all these counts, however, the
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court treated a “quid pro quo” as an element of the

offense. Cf. United States v. Siegelman, 640 F.3d 1159,

1170 (11th Cir. 2011) (noting that “the Supreme Court has

not yet considered whether the federal funds bribery,

conspiracy       or     honest     services     mail      fraud   statutes

require” a quid pro quo).                  For counts alleging the

offering of a campaign-contribution bribe, the court

developed    a        heightened    quid      pro   quo     standard   and

instructed the jury that:

          “For a defendant to be guilty under this
          statute, the government must prove that
          there was a quid pro quo.      The term
          ‘quid pro quo’ is Latin for ‘this for
          that,’ or ‘these for those.’ For all of
          the alleged bribes in these counts, the
          thing of value allegedly promised or
          exchanged took the form of a campaign
          contribution.    Campaign contributions
          and fundraising are an important,
          unavoidable and legitimate part of the
          American system of privately financed
          elections.    The law recognizes that
          campaign contributions may be given to
          an elected public official because the
          giver supports the acts done or to be
          done by the elected official. The law
          thus also recognizes that legitimate,
          honest campaign contributions are given
          to reward public officials with whom the

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       donor agrees, and in the generalized
       hope that the official will continue to
       take similar official actions in the
       future.

       “Lobbyists,    as   well    as   private
       individuals and other entities, often
       donate to the political campaigns of
       public officials and there is nothing
       illegal about this practice. Official
       acts that advance the interests of a
       lobbyist’s clients, taken shortly before
       or after campaign contributions are
       solicited or received from the lobbyist,
       can, depending on the circumstances, be
       perfectly legal and appropriate.

       “Therefore,    the    solicitation    or
       acceptance by an elected official of a
       campaign contribution does not, in
       itself, constitute a federal crime, even
       though the donor has business pending
       before the official, and even if the
       contribution is made shortly before or
       after the official acts favorably to the
       donor.

       “However, when there is a quid pro quo
       agreement, orally or in writing, that
       is, a mutual understanding, between the
       donor and the elected official that a
       campaign contribution is conditioned on
       the performance of a specific official
       action, it constitutes a bribe under
       federal law.    By this phrase, I mean
       that a generalized expectation of some
       future   favorable    action    is   not
       sufficient for a quid pro quo agreement;

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       rather, the agreement must be one that
       the campaign contribution will be given
       in exchange for the official agreeing to
       take or forgo some specific action in
       order for the agreement to be criminal.
       A close-in-time relationship between the
       donation and the act is not enough to
       establish an illegal agreement.

       “A promise of a campaign contribution or
       a    solicitation    of    a    campaign
       contribution may be an illegal quid pro
       quo, as well. But to be illegal (1) it
       must be a promise or solicitation
       conditioned on the performance of a
       specific official action as I explained
       that phrase in the preceding paragraph;
       (2)   it must be explicit; and (3) it
       must be material. To be explicit, the
       promise or solicitation need not be in
       writing but must be clearly set forth.
       An explicit promise or solicitation can
       be inferred from both direct and
       circumstantial evidence, including the
       defendant’s words, conduct, acts, and
       all   the   surrounding    circumstances
       disclosed by the evidence, as well as
       the rational or logical inferences that
       may be drawn from them.

       “Finally, the word material is a legal
       term, and it does not indicate whether
       something is tangible or intangible.
       Rather, it means that the promise or
       solicitation is one that a reasonable
       person would view as having the capacity
       or natural tendency to influence a
       person’s decision. It does not matter

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             whether the decision-maker actually
             accepted the promise or solicitation and
             acted accordingly. Again, a close-in-
             time relationship between the donation
             and the act is not enough to establish
             an illegal promise or solicitation.”

Jury Instructions (Doc. No. 2388) at 20-24 (emphasis in

original).



                             II.    BACKGROUND

       The indictment charged the defendants with federal-

programs bribery, extortion, honest-services mail and

wire fraud, money laundering, making a false statement,

obstruction of justice, and conspiracy to commit federal-

programs bribery.1           Of particular importance here, the

government alleged that several of the bribes were to be

given as campaign contributions instead of money to be

used by the politician for his or her personal benefit.

For     instance,      Count    5   of       the   indictment   charged     a


    1.   Given the numerous opinions already issued in
this case, the court assumes a certain familiarity with
the facts. For a thorough discussion of this litigation,
see United States v. McGregor, 824 F. Supp. 2d 1339 (M.D.
Ala. 2011).

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defendant with promising “to give campaign contributions,

including promises of $ 100,000 and other unspecified

amounts,” to a defendant state senator.             Indictment (Doc.

No. 3) at ¶ 198.      As alleged in the indictment, campaign

contributions were involved in counts charging federal-

programs bribery, extortion, and honest-services mail and

wire fraud.

    Because campaign contributions implicate significant

First Amendment rights, courts have fashioned heightened

standards of proof to ensure that protected political

activity is not criminalized or unduly chilled.                    These

standards, however, are not a model of clarity.                    While

eight defendants have been acquitted of all charges and

this case is now over, the court writes on this issue to

highlight a murky field of federal law.



                        III.    QUID PRO QUO

    Corruption undermines democratic institutions and

distorts    the   representative        process     by   substituting



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private interests for the will of the people.                 The public

will have confidence in their government only if their

votes       matter.       A   vibrant       democracy   cannot         ignore

corruption in its midst.

       Of course, corruption takes many forms.               A bureaucrat

can extort a business owner when approving a license.                       A

police officer can pocket drugs and look the other way.

And a politician can direct a government contract to a

company in exchange for a personal check.

       Those are relatively clear-cut examples.                  Bribes to

unelected       government     officials        often   do    not      raise

constitutional questions because those payments cannot be

construed as campaign contributions.                But corruption can

take    a    more     sophisticated        form.    Whenever          private

donations      fund    political       campaigns,    there       is   always

potential      for    a   bribe   to       masquerade   as   a    campaign

contribution.

       Candidates and donors have a First Amendment right to

accept or give campaign contributions, so long as those



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payments are not bribes.                      Indeed, the Supreme Court

defines campaign contributions as political speech but

has     upheld      limitations      on       campaign       contributions   to

candidates in the interest of preventing corruption or

the appearance of corruption.                  Buckley v. Valeo, 424 U.S.

1, 19-25 (1976).          Politicians and citizens may also have

a due-process right to know what political activity is

legal.        Fair notice allows individuals to engage in

politics with full knowledge of the legal parameters.

       These       concerns    are   particularly            salient   because

private funding of campaigns is the norm in the American

system of government.            Regardless of whether a candidate

is running for president or city council, he or she must

raise      substantial        sums   of       money    for    advertisements,

support staff, and get-out-the-vote efforts.                       Candidates

typically call potential donors, hear their concerns, and

request        a     contribution.               For     donors,       campaign

contributions are a way of participating in the political

process and expressing support for their candidate of



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choice.      Given this political reality, distinguishing an

illicit bribe from a genuine donation is sometimes no

easy task.

       To illustrate this line-drawing problem, the court

borrows an example that the defendants frequently cited

as a model of legitimate campaign contributions.                   In June

2011,      New   York    legalized     same-sex      marriages.        Some

Republican lawmakers who provided the decisive votes

subsequently received significant campaign contributions

from gay marriage supporters.                  This fact was widely

reported in the media, which assumed that such conduct

was predictable, proper, and legal.                   McGregor’s Brief

(Doc. No. 1913) at 2-6 (discussing Thomas Kaplan, A

Campaign Windfall for 4 Republicans Who Voted For Same-

Sex       Marriage,        N.Y.       Times,       Oct.      12,      2011,

http://www.nytimes.com/2011/10/13/nyregion/4-republican

s-who-voted-for-gay-marriage-set-to-receive-aid.html).

The defendants challenged the government to demonstrate




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how their advocacy of pro-gambling legislation was any

different from this behavior.

    This example begs the question: when is a campaign

contribution a bribe? It is axiomatic that citizens give

money to politicians that they support.               But a campaign

contribution transforms into a bribe when it is tied to

a specific act.     In other words, when there is a quid pro

quo or a “this for that.”

    Three cases provide guidance on the definition of

quid pro quo.        In the first two, the Supreme Court

demarcated the general boundaries of a quid pro quo.

More recently, the Eleventh Circuit Court of Appeals

refined the standard.        The court addresses each in turn.



    A.   McCormick and Quid Pro Quo

    In McCormick v. United States, 500 U.S. 257 (1991),

the Supreme Court held that a quid pro quo was necessary

for a conviction for extortion under the Hobbs Act, 18

U.S.C. § 1951.        McCormick was a West Virginia state



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legislator who supported a program that                     gave temporary

medical licenses to foreign doctors.                  In 1984, after the

state legislature moved to eliminate the program, an

organization       of    foreign      doctors       hired       a   lobbyist,

Vandergrift, to advocate their interests.                       McCormick and

Vandergrift    discussed        ways       to     extend    the     licensing

program.    After McCormick sponsored a bill that renewed

the licensing program in 1984, McCormick and Vandergrift

discussed introducing a similar bill in 1985.

    During     his      1984    re-election         campaign,       McCormick

mentioned     to     Vandergrift           that     “his    campaign        was

expensive, that he had paid considerable sums out of his

own pocket, and that he had not heard anything from the

foreign     doctors.”           McCormick,         500     U.S.        at   260.

Vandergrift    said      that    he   would       talk     to    the    foreign

doctors and see what he could do to help.                               Shortly

thereafter, Vandergrift gave McCormick several thousand

dollars in cash.        In 1985, McCormick sponsored and helped

enact a bill that permitted experienced doctors to obtain



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a permanent license without passing the state’s medical

exam.   Two weeks after the legislation passed, McCormick

received another cash payment from the foreign doctors.

Id.

      McCormick was charged under the Hobbs Act, which

defines extortion as “the obtaining of property from

another, with his consent, induced by wrongful use of

actual or threatened force, violence, or fear, or under

color of official right.”           Id. at 261 n.2 (quoting 18

U.S.C. § 1951(b)(2)).        Because there were no allegations

of force, violence or fear, the question presented was

the meaning of the Hobbs Act’s “color of official right”

language.     Id. at 259.       McCormick argued that the cash

payments    were    campaign    contributions       and,     therefore,

exempt from the Hobbs Act’s “color of official right”

language.    Id. at 274 n.10.

      The   Supreme    Court    recognized      that    an   extortion

conviction    for     receiving    campaign      contributions       was




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fraught with constitutional and pragmatic concerns.                      As

the Court explained:


           “Money is constantly being solicited on
           behalf of candidates, who run on
           platforms and who claim support on the
           basis of their views and what they
           intend to do or have done. Whatever
           ethical considerations and appearances
           may indicate, to hold that legislators
           commit the federal crime of extortion
           when they act for the benefit of
           constituents or support legislation
           furthering the interests of some of
           their constituents, shortly before or
           after   campaign     contributions   are
           solicited and received from those
           beneficiaries,    is    an   unrealistic
           assessment of what Congress could have
           meant by making it a crime to obtain
           property from another, with his consent,
           ‘under color of official right.’”

Id. at 272.     Thus, a mutuality of interest or a close-in-

time connection between a donation and an official act is

insufficient to sustain a conviction under the Hobbs Act.

    Despite these concerns, the McCormick Court held that

campaign    contributions       could   form    the    basis    for      an

extortion conviction.          To obtain a conviction under the

Hobbs   Act’s   “color    of    official    right”     language,      the

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government must establish a “quid pro quo.”                Id. at 273.

See also id. at     274 (“We thus disagree with the Court of

Appeals’ holding in this case that a quid pro quo is not

necessary for conviction under the Hobbs Act when an

official receives a campaign contribution.”).                 In other

words, the government must prove beyond a reasonable

doubt that a campaign contribution was “made in return

for an explicit promise or undertaking by the official to

perform or not to perform an official act.                     In such

situations the official asserts that his official conduct

will    be   controlled    by    the    terms   of   the   promise       or

undertaking.”     Id. at 273 (emphasis added).

       Thus, McCormick makes clear that a quid pro quo is

required for a conviction when a campaign contribution is

alleged to be a bribe.          The Court defined a quid pro quo

as a “this for that.”           A bribe needs to be in exchange

for a specific official act or omission.               The McCormick

Court, however, did not expand on what constitutes an




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“explicit promise or undertaking.”                  The definition of

“explicit” remains hotly contested.



       B.   Evans and Inducement

       A year after McCormick, the Supreme Court decided

another case about the scope of the Hobbs Act.                   In Evans

v.    United     States,     504    U.S.    255   (1992),      the   Court

addressed whether “an affirmative act of inducement by a

public official, such as a demand, is an element of the

offense of extortion ‘under color of official right’

prohibited by the Hobbs Act.”              Id. at 256.

       Evans was an elected member of a Georgia county

commission.       An FBI agent posed as a real estate investor

and, over the course of several months, requested Evans’s

assistance in re-zoning a plot of land.                   At the end of

one meeting, the agent handed Evans an envelope with

$ 7,000 in cash and a $ 1,000 check made payable to

Evans’s campaign.         Evans reported the check, but not the

cash. Evans contended that both the cash and the check



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were campaign contributions.           Evans was prosecuted on the

theory that his “acceptance of the bribe constituted an

implicit promise to use his official position to serve

the interests of the bribegiver.”            Id. at 257.

    Regarding the question presented, the Court held that

an affirmative act of inducement was not required for a

conviction under the Hobbs Act.             Id. at 265-66.        It is

irrelevant whether the public official initiated the

bribe payment.

    Evans also challenged the jury instructions as a

violation of McCormick’s quid pro quo requirement.                   The

jury instructions stated in relevant part: “if a public

official demands or accepts money in exchange for [a]

specific requested exercise of his or her official power,

such a demand or acceptance does constitute a violation

of the Hobbs Act regardless of whether the payment is

made in the form of a campaign contribution.”               Id. at 258

(alteration in original). In rejecting Evans’s argument,

the Court reasoned that “the offense is completed at the



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time when the public official receives a payment in

return for his agreement to perform specific official

acts; fulfillment of the quid pro quo is not an element

of    the   offense.”        Id.    at    268.     The   Court     further

explained that: “We hold today that the Government need

only show that a public official has obtained a payment

to which he was not entitled, knowing that the payment

was made in return for official acts.”                   Id.2    In other

words, a quid pro quo needs to be for a specific action.

Whether the politician actually follows through on the

agreement is not necessary for a conviction.

       In his concurring opinion, Justice Kennedy argued

that the last sentence quoted above “can be interpreted



    2. Part of the confusion about Evans’s holding may
stem from Justice Thomas’s dissent, which addressed an
unbriefed argument.     Justice Thomas contended that
extortion was limited to wrongful takings under false
pretense of official right. When extortion is involved,
only the public official is the wrongdoer; but in a
bribery case, both the official and the bribegiver may be
at fault.   Id. at 283 (Thomas, J., dissenting).      The
Evans Court rejected this argument, albeit in a section
of the opinion that did not address the quid pro quo
standard. Id. at 269-71 (majority opinion).

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in a way that is consistent” with McCormick’s quid pro

quo requirement.       Id. at 272 (Kennedy, J., concurring in

part and concurring in the judgment).3                Justice Kennedy

conceded    that   the   Court’s     opinion       could   be   read     as

holding    that    a   quid    pro     quo   was     “an   alternative

rationale” for conviction.           Id. at 273.       But the Evans

jury did convict on a quid pro quo theory. Id.

    Justice Kennedy then expanded on his definition of a

quid pro quo:

           “The requirement of a quid pro quo means
           that without pretense of any entitlement
           to the payment, a public official
           violates [the Hobbs Act] if he intends
           the payor to believe that absent payment
           the official is likely to abuse his
           office and his trust to the detriment
           and injury of the prospective payor or
           to give the prospective payor less
           favorable treatment if the quid pro quo
           is not satisfied. The official and the
           payor need not state the quid pro quo in
           express terms, for otherwise the law's
           effect could be frustrated by knowing
           winks and nods. The inducement from the


    3. Justice Thomas’s dissent interpreted the majority
opinion as requiring a quid pro quo, which he regarded as
a “made up” standard but a “step in the right direction.”
Id. at 287 (Thomas, J., dissenting).

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           official is criminal if it is express or
           if it is implied from his words and
           actions, so long as he intends it to be
           so and the payor so interprets it.”

Id. at 274 (second emphasis added).             Thus, according to

Justice Kennedy, a quid pro quo need not be expressly

stated orally or put in writing.               Rather, an explicit

quid pro quo could be inferred from vague words and

conduct.     The “explicit” requirement encompasses both

“express” comments and “implied” behavior.

    Justice Kennedy’s distinction between an “express”

versus an “implied” quid pro quo becomes salient in the

final case of this trilogy.



    C.     Siegelman and Express

    The    last    case    that   addresses     the    quid    pro   quo

standard also comes from Alabama.              In United States v.

Siegelman,    640       F.3d   1159    (11th   Cir.   2011),     former

Governor Don Siegelman and healthcare executive Richard

Scrushy    were    convicted      of    federal-programs      bribery,

conspiracy,       and    honest-services       mail    fraud.        The

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convictions were premised on a “corrupt agreement whereby

Scrushy    gave   Siegelman        $    500,000       in     exchange     for

Siegelman’s appointing him to Alabama’s Certificate of

Need Review Board,” which controlled the licensing of

healthcare    facilities      in       the   State.         Id.   at    1164.

Scrushy effectuated the scheme by funneling money to an

issue-advocacy group that Siegelman controlled.

       On appeal, the defendants asserted that the jury

instructions “failed to tell the jury not only must they

find that Siegelman and Scrushy agreed to a quid pro quo

... but that this agreement had to be express.”                        Id. at

1171     (emphasis    in    original).            According        to     the

defendants, a quid pro quo required evidence of actual

conversations, either oral or written.                     In other words,

defendants contended that an explicit quid pro quo had to

be stated expressly.

       The Eleventh Circuit rejected this argument.                       The

court interpreted McCormick’s use of the word “explicit”

to describe “the sort of agreement that is required to



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convict a defendant for extorting campaign contributions.

Explicit, however, does not mean express.”              Id. (emphasis

in original).     Rather, the Siegelman court read Evans as

clarifying that an agreement must be in “return for a

specific official action--a quid pro quo.             No generalized

expectation of some future favorable action will do.”

Id. (emphasis in original).            Under both McCormick and

Evans, therefore, “there is no requirement that [an]

agreement be memorialized in writing, or even ... be

overhead by a third party.”              Id.     Such a burdensome

requirement would not only be impractical but would also

allow defendants “to escape criminal liability through

‘knowing winks and nods.’” Id. (quoting Evans, 504 U.S.

at 274 (Kennedy, J., concurring in part and concurring in

the judgment)).



    D.   Current State of the Law

    As this case demonstrates, there is considerable

debate over what McCormick, Evans, and Siegelman require.



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The defendants argued that campaign contributions could

not be considered “bribes” under the federal-programs

bribery statute.           The defendants rehashed the arguments

raised in Siegelman that an explicit quid pro quo had to

be express.       The defendants also asserted that a quid pro

quo had to be an agreement rather than a promise or

solicitation.              According      to   the    defendants,       the

bribegiver and the politician had to reach a corrupt

bargain; under this theory, a bribegiver making an offer

in     exchange      for     the   politician’s        vote    would        be

insufficient.          McGregor’s      Proposed      Jury   Instructions

(Doc. No. 1195), 6-17.

       The Circuit Courts of Appeals have struggled with

these questions.           The Second Circuit, for example, has

limited Evans to non-campaign contribution bribes even

though the defendant in Evans claimed that the payments

were     campaign     contributions.           Moreover,      the   Second

Circuit interpreted Evans as holding that, in the non-

campaign contribution context, a quid pro quo need not be



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explicit.     United States v. Ganim, 510 F.3d 134, 142-44

(2d Cir. 2007).       See also United States v. Abbey, 560

F.3d 513, 517-18 (6th Cir. 2009) (adopting a similar

rationale).     By contrast, the Fourth Circuit has read

Evans as applying to campaign contributions but referred

to the quid pro standard as “not onerous.”              United States

v. Hairston, 46 F.3d 361, 365 (4th Cir. 1995).

    The question, then, is how to harmonize McCormick,

Evans, and Siegelman.



                         IV.    DISCUSSION

    The     court   believes      that    its    jury    instructions

clarified the law in numerous ways.                   As an initial

matter, the instructions have a long introduction about

the appropriateness of privately funded campaigns.                  This

language provides context for how campaigns are actually

funded and reminds the jury that a mere coincidence of

interest between the alleged bribegiver and official is

insufficient to sustain a conviction.



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    More importantly, the court’s instructions attempted

to resolve the quid pro quo debate.                 Too often, courts

have conflated a “quid pro quo” with an agreement.                    But

a quid pro quo is simply Latin for “this for that.”

Federal corruption laws are not limited to completed

agreements     to    exchange         a     vote    for   a    campaign

contribution.           Thus,        the      court’s     instructions

distinguished between a quid pro quo agreement and a quid

pro quo promise or solicitation.

    An agreement is the paradigmatic example of a corrupt

quid pro quo.       An agreement requires a ‘meeting of the

minds’ and typically results from negotiations about the

‘price,’ i.e. how much bribe money is needed to purchase

a specific official action.               In other words, a quid pro

quo agreement is a corrupt bargain that exchanges a

specific official action for a campaign contribution.

    By contrast, a promise or solicitation is one-sided.

Federal corruption laws criminalize the offering of a

bribe   (a   promise)      or    a        request   for   a   bribe      (a



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solicitation).        The    court,    therefore,      rejected      the

defendants’ argument that a solicitation was insufficient

for a conviction because one-sided extortion is still

criminal.    An extortionate politician should not go free

merely because the victim refuses the corrupt bargain.

And yet, a rule requiring a quid pro quo agreement would

have that perverse result.

    A few hypothetical scenarios may prove useful:

    Quid Pro Quo Agreement: Mayor Doe tells
    businesswoman Jones that he will award her
    company a contract if she donates $ 5,000 to
    his campaign. Jones responds by affirming
    that she will send a check for $ 5,000 to
    Doe’s campaign the next day.

    Quid Pro Quo Promise: Businesswoman Jones
    tells Mayor Doe that she will donate $ 5,000
    to Doe’s campaign if he awards her company
    a contract.

    Quid Pro Quo Solicitation: Mayor Doe tells
    businesswoman Jones that he will award her
    company a contract if she donates $ 5,000 to
    his campaign.

    As these examples illustrate, a party’s criminal

liability     can     be     determined       based      upon     these

distinctions.       An agreement makes both parties liable.

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A promise may implicate only the bribegiver, while a

solicitation may make only the public official liable.

      In delineating between these concepts, the court was

careful to include additional requirements for a quid pro

quo     promise   or    solicitation.          Under    the     court’s

instructions,     the    jury    could     find    a   quid    pro   quo

agreement if there was a corrupt exchange for a specific

official action.       However, for a quid pro quo promise or

solicitation, the jury had to conclude that the corrupt

exchange was specific, explicit, and material.                The court

adopted these distinctions for several reasons.

      First, unlike the Second and Sixth Circuits, this

court    interprets     Evans   as    applying    in   the    campaign-

contribution context.        Evans was prosecuted both for the

$ 7,000 in cash and the $ 1,000 check made payable to his

campaign.    Evans, 504 U.S. at 257.             Moreover, the Evans

trial court instructed the jury that Evans believed that

the “$ 8,000 he received from [the FBI agent] was a

campaign    contribution.”           Id.   The    Second      and   Sixth



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Circuits misread the factual background in Evans when

they cabined that decision to non-campaign contribution

bribes.     See Ganim, 510 F.3d at 143 (noting that “Evans

modified      [McCormick’s]        standard       in     non-campaign

contribution cases”) (quoting United States v. Garcia,

992 F.2d 409, 414 (2d Cir. 1993)); Abbey, 560 F.3d at

517-18 (same).

      Similarly, this court disagrees with the contention

that Evans dilutes McCormick.            The Evans Court granted

certiorari to determine whether an “inducement” was a

necessary element for conviction under the Hobbs Act.

Evans, 504 U.S. at 256.        When the Evans Court stated that

“the Government need only show that a public official has

obtained a payment to which he was not entitled, knowing

that the payment was made in return for official acts,”

id. at 268, it was simply not addressing the quid pro quo

standard.     The Supreme Court was reiterating that an

inducement need not be proven for a conviction.                 Indeed,

the   bulk    of   the    Court’s      opinion     focuses     on    the



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“inducement” argument; the Court’s discussion of the quid

pro quo standard was tangential to the decision.                 As the

D.C. Circuit Court of Appeals succinctly put it:

         “Also misplaced is the government’s
         reliance   on   the   Supreme    Court’s
         statement in Evans that the quid pro quo
         requirement is satisfied where it is
         established that ‘a public official has
         obtained a payment to which he was not
         entitled, knowing that the payment was
         made in return for official acts.’ The
         question in Evans was ‘whether an
         affirmative act of inducement by a
         public official, such as a demand, is an
         element of the offense of extortion’
         prohibited by 18 U.S.C. § 1951.      The
         statement relied upon by the government
         was nothing more than an answer by the
         Court to that question.”

United States v. Dean, 629 F.3d 257, 260 (D.C. Cir. 2011)

(internal citations omitted) (quoting Evans, 504 U.S. at

268 & 256).

    Second,     this    court     included      the   “explicit”     and

“material” requirements for quid pro quo promises and

solicitations        because      one-sided       offers      can        be

misinterpreted.          A     higher     threshold    is    therefore

appropriate     in     order    to    protect    political      speech.

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Indeed, under contract law, promises are not normally

actionable.        Justice Kennedy analogized to contract law

in his Evans concurrence, explaining that “a quid pro quo

with the attendant corrupt motive can be inferred from an

ongoing course of conduct.”              Evans, 504 U.S. at 274

(Kennedy, J., concurring in part and concurring in the

judgment).         This court drew upon this language when it

instructed         the   jury   that     whether      a    promise       or

solicitation was “explicit” could “be inferred from both

direct       and    circumstantial      evidence,     including      the

defendant’s words, conduct, acts, and all the surrounding

circumstances disclosed by the evidence, as well as the

rational or logical inferences that may be drawn from

them.”       Jury Instructions (Doc. No. 2388) at 23.

    The court further defined “material” as an offer

“that    a    reasonable    person     would   view   as   having    the

capacity or natural tendency to influence a person’s

decision.” Jury Instructions (Doc. No. 2388) at 24.                  The




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material requirement ensures that jokes or promises of a

pittance do not trigger criminal liability.

      For a quid prop quo agreement, this court required

only a specificity showing because agreements are, by

definition, explicit. Under the court’s instructions, an

agreement is “a mutual understanding, between the donor

and the elected official.”            Jury Instructions (Doc. No.

2388) at 22.         Once again, under contract law, such a

‘meeting of the minds’ demonstrates that the terms of the

agreement have been formalized–-whether through writing,

oral statements, winks and nods, or conduct.                  When there

is a quid pro quo agreement, “the official asserts that

his official conduct will be controlled by the terms of

the promise or undertaking.” McCormick, 500 U.S. at 273.

A    corrupt     offer     and    acceptance       (or    request      and

acceptance) requires actions by two parties, thereby

making the corrupt bargain explicit and reducing the

possibility of misinterpretation.




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      Additionally, the court did not include a “material”

requirement     for    quid     pro      quo     agreements     because

agreements have been negotiated and consented to.                      If a

politician is willing to sell his vote for a steak dinner

and the bribegiver agrees, that deal should still trigger

criminal liability.

      Finally, the court rejected the defendants’ argument

that a bribe offer has to be “express” because Siegelman

provides controlling authority.               As the Eleventh Circuit

recognized,     an     “express”         requirement      creates        an

unrealistic burden, especially if there are no electronic

recordings     of     the    relevant         conversations       or     if

sophisticated actors are offering or requesting bribes.



                               *    *    *

      It is often true that “unexamined assumptions have a

way   of   becoming,    by    force      of    usage,   unsound    law.”

McCormick, 500 U.S. at 280 (Scalia, J., concurring).                     In

the    public-corruption           context,      courts    have        been



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particularly lax in the use of certain words–-explicit,

express,      agreement,      promise,     and    quid   pro    quo-–that

should have clear legal meanings.                Imprecise diction has

caused considerable confusion over the scope of federal

corruption laws as applied to campaign contributions.

Uncertainty in this area of law breeds corruption and

chills legitimate political speech.

       Much   ink    has   been    spilled      over   the   contours       of

campaign finance law.             Far less attention has been paid

to    what    actually     constitutes      a    “bribe.”      A   precise

definition of “bribery” could bring coherence to campaign

finance jurisprudence, as the government’s interest in

curbing corruption is now the sole basis for placing

limits on campaign contributions.               See Citizens United v.

FEC, 130 S. Ct. 876, 912 (2010) (rejecting the anti-

distortion rationale for campaign finance restrictions).

       The court hopes that its jury instructions and this

opinion have helped clarify the case law.                    Ultimately,

the Supreme Court needs to address this issue and provide



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guidance   to    lower    courts,     prosecutors,       politicians,

donors, and the general public.

    DONE, this the 24th day of July, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
